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                             Case 2:20-mj-01011-NJ Filed 07/24/20 Page 2 of 20 Document 1
                                     ATTACHMENT A
                                   Property to Be Searched

       This warrant applies to information associated with the Pinger account assigned to phone

number 414-914-7672 that is stored at premises owned, maintained, controlled, or operated by

Pinger, Inc., a company headquartered at 97 South 2nd Street, Suite 210, San Jose, CA, 95113.




          Case 2:20-mj-01011-NJ Filed 07/24/20 Page 3 of 20 Document 1
                                       ATTACHMENT B
                                  Particular Things to be Seized

   I.      Information to Be Disclosed by Pinger, Inc.

        To the extent that the information described in Attachment A is within the possession,

custody, or control of Pinger, Inc. regardless of whether such information is located within or

outside of the United States, and including any messages, records, files, logs, or information that

have been deleted but are still available to Pinger, Inc., or have been preserved pursuant to a request

made under 18 U.S.C. § 2703(f), Pinger, Inc. is required to disclose the following information to

the government for each account or identifier listed in Attachment A:

           (a) All records and subscriber information pertaining to the identification of the account
               utilizing Pinger number 414-914-7672; to include: Pinger phone number, Pinger
               account ID, Pinger application, IP address at account creation, device information,
               name, Pinger username, third-party email address, registered phone number, and
               physical address if available;

           (b) Length of service including date account was established and terminated (If
               applicable);

           (c) Call Data Records, identifying any and all details about telephone calls that were
               placed from Pinger number 414-914-7672 or to Pinger number 414-914-7672
               between November 1, 2018 and the Present, to include the Start Date/Time and
               End Date/Time for when the call took place, From Number, To Number, and the
               time duration of the call;

           (d) Detailed Message Logs, identifying any and all details about messages (SMS and
               MMS) that were sent from Pinger number 414-914-7672 or to Pinger number 414-
               914-7672 between November 1, 2018 and the Present, to include the Date/Time
               that a message was received/sent, From Number, and To Number(s);

           (e) Message Content, identifying any and all stored message communications (SMS
               and MMS) for the user of Pinger number 414-914-7672 between November 1,
               2018 and the Present, to include all incoming and outgoing messages or emails
               for the time period;

           (f) Internet Protocol Address Logs, identifying any and all of the internet protocol
               addresses reported by the user of Pinger number 414-914-7672 between November
               1, 2018 and the Present, to include the IP addresses and the Date/Time they were
               captured to Pinger’s servers;




           Case 2:20-mj-01011-NJ Filed 07/24/20 Page 4 of 20 Document 1
            (g) All other records or other information stored by Pinger, Inc. for the user of Pinger
                number 414-914-7672 between November 1, 2018 and the Present, to include
                voicemail, group chat, MMS picture & video messaging, and emojis; and

            (h) All records pertaining to communications between Pinger, Inc. and any person
                regarding the account between November 1, 2018 and the Present, to include
                contacts with support services and records of actions taken.


   II.          Information to Be Seized by the Government

         All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of Title 18, United States Code, Sections 1591(a)(1) and (b)(2) (sex

trafficking of a child); Title 18, United States Code, Sections 1591(a)(1) and (b)(1) (sex trafficking

by force, fraud, and coercion); and Title 18, United States Code, Section 1594(b) (conspiracy to

engage in sex trafficking) involving Tyvex Benford including, for each account or identifier listed

on Attachment A, information pertaining to the following matters:

            (a) Evidence of the crimes under investigation, including preparatory steps taken in
                furtherance of such activity, and steps taken after such activity to hinder and prevent
                apprehension and identification, or evidence that may refute the subscriber’s
                involvement in such activity;

            (b) Evidence indicating how and when any relevant account was accessed or used, to
                determine the geographic the geographic and chronological context of account
                access, use, and events relating of the crimes under investigation and to the account
                owner;

            (c) Evidence indicating the account owner’s state of mind as it relates to the crimes
                under investigation; and

            (d) Evidence regarding the identity of the person(s) who created or used the account,
                including records that help reveal the whereabouts of such person(s).

         This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate the evidence

and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in




           Case 2:20-mj-01011-NJ Filed 07/24/20 Page 5 of 20 Document 1
addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




          Case 2:20-mj-01011-NJ Filed 07/24/20 Page 6 of 20 Document 1
                                                 20-1011M(NJ)




July 24, 2020

     Milwaukee, Wisconsin



    Case 2:20-mj-01011-NJ Filed 07/24/20 Page 7 of 20 Document 1
       I, Blake Shubert, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND


       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI), and I have

been so employed since July 7th, 2019. I am assigned to the Violent Crimes Squad (VC-1) in the

Milwaukee Field Office, where I work human trafficking matters as part of the Wisconsin Human

Trafficking Task Force.

       2.      As part of my duties, I investigate the illegal trafficking of persons for the purposes

of labor and commercial sex acts. My formal training and experience includes the FBI Academy

in Quantico, Virginia, where I received comprehensive training in a variety of investigative and

legal matters. This included conducting criminal investigations, drafting and executing search and

arrest warrants, and interviewing witnesses, victims, and subjects. In addition, I have participated

in multiple training events on conducting human trafficking investigations led by members of the

Wisconsin Human Trafficking Task Force. Since joining my squad in Milwaukee, I have gained

experience as a case agent and a co-case agent leading and supporting multiple investigations,

conducting operations, and consulting with law enforcement partners employed by local, state, and

federal law enforcement agencies. My field experience as a Special Agent includes obtaining

search warrants and collecting and analyzing evidence related to electronic media,

telecommunications, social media, and digital devices.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.



                                                 1

            Case 2:20-mj-01011-NJ Filed 07/24/20 Page 8 of 20 Document 1
       4.      Throughout this affidavit, “case agents,” “officers,” “detectives,” or “investigators”

refers to the federal, state, and local law enforcement officers who have participated directly in

this investigation, and with whom I have had regular contact regarding this investigation;

including: law enforcement officers from the FBI, the Kenosha Police Department (KPD), the

Racine Police Department (RPD), the Racine County Sheriff’s Office (RCSO), the Racine Human

Trafficking Task Force (RHTTF), the Milwaukee Police Department (MPD), and the Milwaukee

County Sheriff’s Office (MCSO).

                               PURPOSE OF THIS AFFIDAVIT

       5.      I make this affidavit in support of an application for a search warrant under Title

18, United States Code, Sections 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require Pinger, Inc.

to disclose to the government records and other information in its possession, including the

contents of communications, pertaining to the user account associated with phone number 414-

914-7672. Such information is stored at premises owned, maintained, controlled or operated by

Pinger, Inc., an electronic communication service provider located in San Jose, California.

       6.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that Tyvex Benford has committed violations of federal law, including:

sex trafficking of a child, in violation of Title 18, United States Code, Sections 1591(a)(1) and

(b)(2); sex trafficking by force, fraud, and coercion, in violation of Title 18, United States Code,

Sections 1591(a)(1) and (b)(1); and conspiracy to engage in sex trafficking, in violation of Title

18, United States Code, Section 1594(b). There is also probable cause to search the information

described in Attachment A for evidence, instrumentalities, contraband, and/or fruits of these

crimes further described in Attachment B, Part I, in accordance with the proposed search

procedure, described in Attachment B, Part II. This Court has jurisdiction to issue the requested



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            Case 2:20-mj-01011-NJ Filed 07/24/20 Page 9 of 20 Document 1
warrant because it is “a court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C.

§§ 2703(a), (b)(1)(A), & (c)(1)(A). Specifically, the Court is “a district court of the United States

. . . that has jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).]

                                       PROBABLE CAUSE

        7.      On the evening of November 16, 2019, KPD, with the support of the Racine Human

Trafficking Task Force, set up an undercover sting operation targeting a then-16-year-old female

whose identity is known to law enforcement, referred to hereinafter as JV-1. Detectives had

located an online commercial sex ad for JV-1 on a website called Skipthegames.com. The ad

instructed customers to contact telephone number 414-914-7672 in order to arrange a date with

JV-1.

        8.       An undercover investigator texted the listed number and arranged to meet JV-1 at

the truck stop located at the Pilot Travel Center in Franksville, Wisconsin. At approximately 5:42

PM, JV-1 arrived at the Pilot Travel Center in a silver Ford Focus, license plate AGW-2161, being

driven by a black male. The Ford Focus parked at pump number six, and JV-1 exited the vehicle

wearing a bright pink shirt. After confirming the identify of JV-1, a Racine Human Trafficking

Task Force Officer made contact with her and took her into custody.

        9.       Immediately after JV-1 was taken into custody, KPD detectives responded to stop

the Ford Focus, following it with their marked squad car as it left the scene and entered onto the

northbound ramp of I-94. Maintaining visual contact with the Ford Focus the entire time, the

detectives activated their squad car’s emergency lights and siren. The Ford Focus did not

immediately stop, and the squad continued to pursue it for more than six miles. Finally, a Racine

County Sheriff marked squad successfully stopped the Ford Focus after it exited I-94 at Highway

G (exit 327). Two black males, identified as Tyvex Benford and Charles O’Berry, were inside the



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             Case 2:20-mj-01011-NJ Filed 07/24/20 Page 10 of 20 Document 1
vehicle and taken into custody. Benford was the driver. A silver iPhone and $951 in cash were

found on Benford’s person at the time of his arrest.

       10.     KPD interviewed JV-1 following her arrest on November 16, 2019. She admitted

that she had been engaging in commercial sex and that Benford was her pimp. JV-1 said she had

known Benford for around one year. In addition, she indicated that she sold and delivered narcotics

(usually crack cocaine) for Benford. JV-1 stated that she was the only person working for Benford

and that he handled and kept all the money.

       11.     Furthermore, JV-1 said that the phone found in her possession when she was

arrested was not the phone used to arrange sex dates. Instead, JV-1’s commercial sex dates were

coordinated using a cell phone owned by Benford.

       12.     According to JV-1, Benford and JV-1 both posted ads for JV-1 on various escort

websites. When prospective clients responded to the ads, sometimes JV-1 handled the phone, and

sometimes Benford did. JV-1 stated that Benford was the person texting with the undercover

investigator to arrange the sex date with her at the Pilot Travel Center on November 16, 2019.

       13.     JV-1 also stated that the last time she had engaged in commercial sex acts was on

the night of Thursday, November 14, 2019 at either the Motel 6 or Value Inn Motel in Oak Creek,

Wisconsin. (She was unsure because she had worked at both hotels in the past.) JV-1 explained

that when customers would arrive at the motel, Benford would go outside and wait in the car until

the sex date was completed. Benford would return to the room following the date.

       14.     JV-1 gave KPD detectives consent to examine the phone found on her person at the

time of her arrest. A subsequent examination of that phone confirmed, as JV-1 had indicated, that

this was not the phone used to communicate about the sex date at the Pilot Travel Center. The




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          Case 2:20-mj-01011-NJ Filed 07/24/20 Page 11 of 20 Document 1
examination found no communications between JV-1’s phone and the phone number used by the

undercover investigator on November 16, 2019.

       15.     There were, however, text communications of note between JV-1’s phone and

someone using phone number 414-628-1226, saved in JV-1’s phone as a contact with the name

“My Crazy Husband.” Based on the contents of the communications between that contact and JV-

1, this number appears to have been used by Benford. Additionally, Benford provided the number

ending in -1226 to KPD when he was taken into custody.

       16.     The examination of JV-1’s phone showed that at 5:01 p.m. on November 16, 2019,

JV-1 texted Benford asking if they could reschedule “dude” for after 6 p.m. when they get

“the car.” Benford responded, “No he gotta get back ona road.” (The undercover officer noted that

in his text conversation with Benford, it was actually Benford—posing as JV-1—who told the

undercover, “I have something to do around 6 pm baby.”)

       17.     The examination of JV-1’s phone also showed that JV-1 had sent Benford a

screenshot of her Google Map navigation screen, showing that they had 15 miles to go before the

next turn on Highway K (exit for the Pilot Travel Center in Franksville, WI), 16 total miles until

they reached the final destination, 18 minutes total trip time remaining, and an estimated time of

arrival of 5:42 p.m. This appears to have been in furtherance of the dialogue going on between the

undercover and Benford on the other phone. At 5:19 p.m., the undercover texted 414-914-7672

(JV-1’s escort ad number), “U still comin right babe?” Benford responded, “Yes” and “I’m on the

highway.” At 5:23 p.m. the undercover replied, “Does it say how long?” Benford replied to the

undercover with the same Google Maps screenshot that JV-1 had sent him.

       18.     As noted above, the telephone number tied to the Skipthegames.com escort ad for

JV-1, and with which the undercover investigator communicated to arrange a sex date with JV-1


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         Case 2:20-mj-01011-NJ Filed 07/24/20 Page 12 of 20 Document 1
on November 16, 2019, was 414-914-7672. FBI investigators determined that there were twenty-

six ads posted on that site for JV-1 using that phone number between November 12, 2019 and

November 16, 2019. Thirteen of the ads were for Racine, Wisconsin, and another thirteen were for

Milwaukee, Wisconsin. There were an additional 128 ads posted for JV-1 on Skipthegames.com

and Onebackpage.com between October 29, 2019 and November 13, 2019.

       19.     Open source research performed by FBI investigators identified the number 414-

914-7672 as belonging to Bandwidth, Inc., which is a nationwide communications and VoIP (Voice-

over-Internet Protocol) service provider primarily serving business customers. Many of their

customers use their VoIP services in a wholesale manner, offering services of their own together with

a Bandwidth telephone number to their end users.

       20.     Investigators contacted Bandwith, Inc., who provided the wholesale customer for the

phone number 414-914-7672 as Pinger, Inc. Pinger partners with Bandwidth to maintain an

inventory of available phone numbers that Pinger then makes available for use through Pinger’s

applications. Pinger maintains records, detailed below, related to its applications and the phone

numbers associated with those applications.

       21.     On June 8, 2020, FBI investigators sent preservation requests to Pinger, Inc. for any

accounts associated with telephone number 414-914-7672.

                                          PINGER, INC.

       22.     Pinger is an application developer headquartered in San Jose, California. Pinger

develops and publishes cross-platform communication applications that can be installed on

Android and iOS devices or accessed using a desktop computer. Several Pinger applications allow

for messaging, calling, and communication management tools. All communications are made

utilizing the user’s Wi-Fi, data, or cellular connection. Pinger’s applications allow users to select



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          Case 2:20-mj-01011-NJ Filed 07/24/20 Page 13 of 20 Document 1
from available United States or Canadian Pinger phone numbers based on location. Location can

be determined either by the user’s input of an area code or is reported to Pinger by the user’s

operating system.

       23.       Pinger, Inc’s communication applications include, ‘Pinger,’ ‘Textfree,’ and

‘Sideline.’

              a. Pinger is a free calling and texting application that comes preloaded with free calling

                 minutes that can be used to call anyone in the U.S., Canada, or Mexico. After that,

                 minutes are free to earn or cheap to purchase. SMS messages are also free. On top

                 of free calling and SMS, additional features include voicemail, group chat, MMS

                 picture & video messaging, emoji, ringtones, and more.

              b. Textfree is a mobile application that allows users to send and receive free text

                 messages, and to make and receive phone calls over the Internet utilizing a third-

                 party’s data connection. Textfree can be used on a computer via a desktop interface

                 and on the Textfree mobile application for Android/iOS devices.

              c. Sideline is a subscription based, mobile application that allows for phone calls to

                 be placed using the Public Switched Telephone Network over the user’s

                 communication services, or utilizing the user’s data connection, similar to Textfree.

                 Messages are sent through the user’s data connection. Sideline is available as a

                 mobile application for Android/iOS devices. Sideline features, utilizing data

                 connections, can also be used via a desktop interface. Additionally, Sideline offers

                 features such as business texting, auto-reply, the ability for a team to share a

                 number.

       24.       Pinger captures and provides the following types of data and records:



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          Case 2:20-mj-01011-NJ Filed 07/24/20 Page 14 of 20 Document 1
              a. Basic subscriber information in the form of a Pinger Customer Information Sheet

                 (PCIS). The PCIS may include the Pinger phone number, Pinger account ID, Pinger

                 application, IP address at account creation, device information, name, Pinger

                 username, third-party email address, and registered phone number;

              b. Call Data Records (CDRs), which capture details about calls that are placed from a

                 Pinger number or to a Pinger number. These records will show the Start Date/Time

                 and End Date/Time for when the call took place, From Number, To Number, and

                 the time duration of the call

              c. Detailed Message Logs (DMLs), which capture details about messages (SMS and

                 MMS) that are sent from a Pinger number or to a Pinger number. These records

                 will show the Date/Time that a message was received/sent, From Number, and To

                 Number(s);

              d. Message Content (MC), which captures the user’s stored message communications

                 (SMS and MMS). MC will include the aforementioned DMLs with the content of

                 the user’s communication;

              e. Internet Protocol Address Logs (IP Logs), which capture the user’s internet

                 protocol addresses as they are reported from the user’s operating system. These

                 records will show basic IP Addresses and the Date/Time they were captured to

                 Pinger’s servers;

       25.       Therefore, the Pinger servers are likely to contain all the material just described,

including stored electronic communications and information concerning subscribers and their use

of Pinger.




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             Case 2:20-mj-01011-NJ Filed 07/24/20 Page 15 of 20 Document 1
             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       26.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant to

require Pinger, Inc. to disclose to the government copies of the records and other information

(including the content of communications) particularly described in Section I of Attachment B.

Upon receipt of the information described in Section I of Attachment B, government-authorized

persons will review that information to locate the items described in Section II of Attachment B.

                                         CONCLUSION

       27.     Based on the forgoing, I request that the Court issue the proposed search warrant.

       28.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

       29.      The government will execute this warrant by serving the warrant on Pinger, Inc.

Because the warrant will be served on Pinger, Inc., who will then compile the requested records at

a time convenient to it, reasonable cause exists to permit the execution of the requested warrant at

any time in the day or night.




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          Case 2:20-mj-01011-NJ Filed 07/24/20 Page 16 of 20 Document 1
                                     ATTACHMENT A
                                   Property to Be Searched

       This warrant applies to information associated with the Pinger account assigned to phone

number 414-914-7672 that is stored at premises owned, maintained, controlled, or operated by

Pinger, Inc., a company headquartered at 97 South 2nd Street, Suite 210, San Jose, CA, 95113.




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         Case 2:20-mj-01011-NJ Filed 07/24/20 Page 17 of 20 Document 1
                                       ATTACHMENT B
                                  Particular Things to be Seized

   I.      Information to Be Disclosed by Pinger, Inc.

        To the extent that the information described in Attachment A is within the possession,

custody, or control of Pinger, Inc. regardless of whether such information is located within or

outside of the United States, and including any messages, records, files, logs, or information that

have been deleted but are still available to Pinger, Inc., or have been preserved pursuant to a request

made under 18 U.S.C. § 2703(f), Pinger, Inc. is required to disclose the following information to

the government for each account or identifier listed in Attachment A:

           (a) All records and subscriber information pertaining to the identification of the account
               utilizing Pinger number 414-914-7672; to include: Pinger phone number, Pinger
               account ID, Pinger application, IP address at account creation, device information,
               name, Pinger username, third-party email address, registered phone number, and
               physical address if available;

           (b) Length of service including date account was established and terminated (If
               applicable);

           (c) Call Data Records, identifying any and all details about telephone calls that were
               placed from Pinger number 414-914-7672 or to Pinger number 414-914-7672
               between November 1, 2018 and the Present, to include the Start Date/Time and
               End Date/Time for when the call took place, From Number, To Number, and the
               time duration of the call;

           (d) Detailed Message Logs, identifying any and all details about messages (SMS and
               MMS) that were sent from Pinger number 414-914-7672 or to Pinger number 414-
               914-7672 between November 1, 2018 and the Present, to include the Date/Time
               that a message was received/sent, From Number, and To Number(s);

           (e) Message Content, identifying any and all stored message communications (SMS
               and MMS) for the user of Pinger number 414-914-7672 between November 1,
               2018 and the Present, to include all incoming and outgoing messages or emails
               for the time period;

           (f) Internet Protocol Address Logs, identifying any and all of the internet protocol
               addresses reported by the user of Pinger number 414-914-7672 between November
               1, 2018 and the Present, to include the IP addresses and the Date/Time they were
               captured to Pinger’s servers;

                                                  1

          Case 2:20-mj-01011-NJ Filed 07/24/20 Page 18 of 20 Document 1
            (g) All other records or other information stored by Pinger, Inc. for the user of Pinger
                number 414-914-7672 between November 1, 2018 and the Present, to include
                voicemail, group chat, MMS picture & video messaging, and emojis; and

            (h) All records pertaining to communications between Pinger, Inc. and any person
                regarding the account between November 1, 2018 and the Present, to include
                contacts with support services and records of actions taken.


   II.          Information to Be Seized by the Government

         All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of Title 18, United States Code, Sections 1591(a)(1) and (b)(2) (sex

trafficking of a child); Title 18, United States Code, Sections 1591(a)(1) and (b)(1) (sex trafficking

by force, fraud, and coercion); and Title 18, United States Code, Section 1594(b) (conspiracy to

engage in sex trafficking) involving Tyvex Benford including, for each account or identifier listed

on Attachment A, information pertaining to the following matters:

            (a) Evidence of the crimes under investigation, including preparatory steps taken in
                furtherance of such activity, and steps taken after such activity to hinder and prevent
                apprehension and identification, or evidence that may refute the subscriber’s
                involvement in such activity;

            (b) Evidence indicating how and when any relevant account was accessed or used, to
                determine the geographic the geographic and chronological context of account
                access, use, and events relating of the crimes under investigation and to the account
                owner;

            (c) Evidence indicating the account owner’s state of mind as it relates to the crimes
                under investigation; and

            (d) Evidence regarding the identity of the person(s) who created or used the account,
                including records that help reveal the whereabouts of such person(s).

         This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate the evidence

and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

                                                  2

           Case 2:20-mj-01011-NJ Filed 07/24/20 Page 19 of 20 Document 1
addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




                                                3

          Case 2:20-mj-01011-NJ Filed 07/24/20 Page 20 of 20 Document 1
